                Case 22-11068-JTD              Doc 24733          Filed 09/13/24         Page 1 of 11




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                 )
    In re                                                        )        Chapter 11
                                                                 )
    FTX Trading Ltd., et al., 1                                  )        Case No. 22-11068 (JTD)
                                                                 )
                                       Debtors.                  )        (Jointly Administered)
                                                                 )
                                                                 )        Obj. Deadline: October 3, 2024 at 4:00 p.m.
                                                                 )        (ET)


         COVER SHEETS TO THE TENTH MONTHLY FEE APPLICATION OF
     ROTHSCHILD & CO US INC., AS INVESTMENT BANKER TO THE EXECUTIVE
      COMMITTEE OF THE AD HOC COMMITTEE OF NON-U.S. CUSTOMERS OF
     FTX.COM, FOR COMPENSATION FOR SERVICES AND REIMBURSEMENT OF
      EXPENSES FOR THE PERIOD FROM JULY 1, 2024 THROUGH JULY 31, 2024

    Name of applicant:                                                Rothschild & Co US Inc.
    Authorized to provide                                             Executive Committee of the Ad Hoc
    professional services to:                                         Committee of Non-U.S. Customers of
                                                                      FTX.com
    Date of Retention Order:                                          November 15, 2023
    Period for which compensation and/or
    reimbursement is sought:                                          July 1, 2024 to and including July 31, 2024
    Total compensation requested as actual, reasonable,
    and necessary:                                                     $175,000.00 (July Monthly Fee)

    Compensation requested immediately:                                $140,000.00 (80% of $175,000.00)

    Compensation held back:                                            $35,000.00 (20% of $175,000.00)




1
      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
      4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
      Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
      of such information may be obtained on the website of the Debtors’ claims and noticing agent at
      https://cases.ra.kroll.com/FTX.
               Case 22-11068-JTD          Doc 24733        Filed 09/13/24      Page 2 of 11




    Amount of expenses requested as actual, reasonable,        $8,758.00
    and necessary:2
    Amounts paid to date:                                      $0.00
    Net amount requested immediately:                          $148,758.00 (80% of compensation and
                                                               100% of expenses)

This is a(n): _X__ monthly ___ interim             ___ final application

                              [Remainder of page intentionally left blank]




2
      Certain expenses for the period may not have been processed yet and will be included in subsequent fee
      applications.




                                                      2
                Case 22-11068-JTD              Doc 24733          Filed 09/13/24         Page 3 of 11




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                 )
    In re                                                        )        Chapter 11
                                                                 )
    FTX Trading Ltd., et al., 3                                  )        Case No. 22-11068 (JTD)
                                                                 )
                                       Debtors.                  )        (Jointly Administered)
                                                                 )
                                                                 )        Obj. Deadline: October 3, 2024, at 4:00 p.m. (ET)
                                                                 )

      TENTH MONTHLY FEE APPLICATION OF ROTHSCHILD & CO US INC., AS
     INVESTMENT BANKER TO THE EXECUTIVE COMMITTEE OF THE AD HOC
     COMMITTEE OF NON-U.S. CUSTOMERS OF FTX.COM, FOR COMPENSATION
      FOR SERVICES AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD
                 FROM JULY 1, 2024 THROUGH JULY 31, 2024

            This statement (the “Fee Application”) is the tenth monthly fee statement of Rothschild &

Co US Inc. (“Rothschild & Co”), investment banker to the Executive Committee (the “Executive

Committee”) of the Ad Hoc Committee of Non-U.S. Customers of FTX.com (the “Ad Hoc

Committee”) in the chapter 11 cases (collectively, these “Chapter 11 Cases”) of the above

captioned debtors and debtors-in-possession (the “Debtors”), filed pursuant to Rule 2016 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-2 of the Local Rules

of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), the Order Authorizing the Debtors to Enter into, and Perform their

Obligations Under, the Reimbursement Agreements [Docket No. 3928] (the “Reimbursement

Order”) and the Order Establishing Procedures For Interim Compensation and Reimbursement



3
      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
      4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
      Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
      of such information may be obtained on the website of the Debtors’ claims and noticing agent at
      https://cases.ra.kroll.com/FTX.
            Case 22-11068-JTD        Doc 24733      Filed 09/13/24     Page 4 of 11




of Expenses For Professionals [Docket No. 435] (the “Interim Compensation Order”). Rothschild

& Co requests: (a) payment of compensation in the amount of $140,000.00 (80% of $175,000.00)

of fees on account of reasonable and necessary professional services rendered to the Executive

Committee by Rothschild & Co during the period from July 1, 2024 through and including July

31, 2024 (the “Fee Period”); and (b) reimbursement of actual and necessary costs and expenses in

the amount of $8,758.00 incurred by Rothschild & Co in connection with such services. In support

of this Fee Application, Rothschild & Co respectfully states as follows:

                                          Background

       1.      On November 11 and November 14, 2022, the Debtors filed voluntary petitions for

relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) with this

Court. The Debtors are authorized to operate their businesses and manage their properties as

debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

       2.      The Ad Hoc Committee was formed on December 2, 2022 by a collective group of

non-US customers who held accounts on the FTX.com platform. The Ad Hoc Committee, which

currently comprises 67 members, holds in excess of approximately $4.4 billion in aggregate

customer entitlements against the Debtors.

       3.      On January 9, 2023, the Court entered the Interim Compensation Order, which

generally sets forth the procedures for interim compensation and expense reimbursement for

retained professionals in the Debtors’ Chapter 11 Cases.

       4.      On July 1, 2023, the Executive Committee engaged Rothschild & Co in connection

with these Chapter 11 Cases. Each member of the Executive Committee has consented to

Rothschild & Co’s representation of the Executive Committee in these Chapter 11 Cases.




                                                2
            Case 22-11068-JTD        Doc 24733      Filed 09/13/24   Page 5 of 11




       5.      Pursuant to the terms of that certain engagement letter between the Debtors and

Rothschild & Co, dated July 1, 2023 (as may be amended or otherwise modified from time to time,

the “Engagement Letter”), the Debtors agreed to compensate Rothschild & Co in an amount equal

to $175,000.00 per month during the course of its engagement, in addition to compensation for

achieving certain milestones.

       6.      On November 15, 2023, the Court entered the Reimbursement Order. Subject to the

terms thereof, the Reimbursement Order authorized the Debtors to reimburse Rothschild & Co for

all of its outstanding and future reasonable documented fees and expenses in furtherance of the

diligence, negotiation, prosecution, documentation and implementation of a comprehensive

restructuring of the Debtors.

                                     Summary of Services

       7.      The Rothschild & Co professionals who rendered professional services during the

Fee Period in these cases are as follows: Charles Delo (Managing Director), Andrew Morley

(Director), Lorenzo Muñoz (Analyst), Kevin Hou (Analyst) and Julia Walters (Analyst).

       8.      Although Rothschild & Co, in line with its own standard procedures and market

convention, does not bill by the hour, Rothschild & Co maintained post-petition time records in

one-half (0.5) hour increments in accordance with the Reimbursement Order. Such time records

are attached hereto as Exhibit A.

       9.      During the Fee Period, the Executive Committee relied heavily on the experience

and expertise of the above-named persons in dealing with matters described below. Rothschild &

Co’s highly skilled restructuring professionals devoted significant time and effort to perform

properly and expeditiously the required professional services.




                                                3
             Case 22-11068-JTD        Doc 24733     Filed 09/13/24     Page 6 of 11




      10.      Consistent with the Reimbursement Order, the following summaries highlight

certain key areas in which Rothschild & Co provided essential services to the Executive

Committee:

               a. Executive Committee meetings / calls – This category includes time by

                  Rothschild & Co professionals preparing for and participating in various

                  meetings and calls with the Executive Committee, individual members of the

                  Executive Committee, and advisors to the Ad Hoc Committee, to keep

                  principals and Ad Hoc Committee advisors informed of relevant developments

                  in the Debtors’ bankruptcy proceedings, to make key decisions and to discuss

                  the progress of the case and the progress towards certain restructuring

                  milestones.

               b. Meetings / calls with non-Executive Committee creditors – This category

                  includes time spent by Rothschild & Co professionals discussing general case

                  updates and other related items with non-Executive Committee creditors.

               c. Internal calls / meetings – This category includes time spent by Rothschild &

                  Co professionals discussing relevant case developments and deliberating case

                  strategy. These discussions are necessary to synchronize efforts and analyze,

                  among other things, the Debtors’ overall strategic alternatives, appropriate next

                  steps, timing of future actions and general preparation in advance of meetings

                  with other third parties.

               d. Court hearings / filings – This category includes time spent by Rothschild &

                  Co professionals (i) participating in or monitoring Court hearings, (ii) engaging

                  in research, performing various analyses and reviewing relevant documents in



                                                4
Case 22-11068-JTD        Doc 24733      Filed 09/13/24     Page 7 of 11




     preparation for court proceedings, (iii) reviewing, researching and analyzing

     case information included in or in connection with Court documents, as well as

     pleadings and other docket filings throughout these Chapter 11 Cases, (iv)

     reviewing filings and declarations related to the Debtors’ asset and coin

     monetization processes and (v) preparing fee applications in compliance with

     the Local Rules and Reimbursement Order.

  e. Case administration – This category includes time spent by Rothschild & Co

     professionals performing general case administration.

  f. Analysis / diligence / presentations / related items – This category includes time

     spent by Rothschild & Co professionals (a) performing analyses, reviewing

     analyses, conducting diligence and providing input regarding materials

     prepared by the Debtors’ advisors on topics including the Debtors’ liquidity,

     creditor claims, financial affairs, ongoing asset and coin monetization

     processes, case strategy and plan support agreement, and (b) preparing various

     memos, presentations and discussion materials for the Executive Committee or

     other stakeholders, including the Debtors, the Official Committee of Unsecured

     Creditors and their respective advisors.

  g. Meetings / calls with Debtors / Official Committee of Unsecured Creditors –

     This category includes time spent by Rothschild & Co professionals discussing

     due diligence, negotiations, general case updates and other related items with

     the Debtors, the Official Committee of Unsecured Creditors and their respective

     advisors.




                                    5
                Case 22-11068-JTD       Doc 24733     Filed 09/13/24      Page 8 of 11




          11.     The tables below display a summary of hours spent by each professional and

expenses incurred during the Fee Period.


            Summary of Hours of Service by Rothschild & Co During the Fee Period

  Professional                        Position                                           Total hours
  Charles Delo                        Managing Director                                        58.5
  Andrew Morley                       Director                                                 43.5
                                                                                               50.0
  Lorenzo Muñoz                       Analyst                                                  70.0
  Kevin Hou                           Analyst                                                  13.0
  Julia Walters                       Analyst                                                  66.0
  Total                                                                                       257.5

                             Summary of Expenses for the Fee Period

  Expense Category                                                                         Amount
  Travel                                                                                          -
  Ground Transportation                                                                           -
  Hotel                                                                                           -
  Legal Fees                                                                              $8,758.00
  Miscellaneous                                                                                   -
  Meals                                                                                           -
  Presentation                                                                                    -
  Copies                                                                                          -
  Research/Database                                                                               -
  Telephone/Communications                                                                        -
  Courier Services                                                                                -
    Total                                                                                 $8,758.00


          12.     Although every effort has been made to include all fees and expenses incurred

during the Fee Period, some fees and expenses might not be included in this Fee Application due

to delays caused by accounting and processing. Rothschild & Co reserves the right to seek

allowance of such fees and expenses not included herein. Detailed support for actual and necessary

costs incurred during the Fee Period are attached hereto, in Exhibit B.

                                 Notice and Objection Procedures

          13.     Rothschild & Co has provided notice of this Fee Application to:

                   a) counsel to the Debtors, (i) Sullivan & Cromwell LLP, 125 Broad Street, New

                       York, New York 10004, Attn: Alexa J. Kranzley (kranzleya@sullcrom.com),

                                                  6
             Case 22-11068-JTD        Doc 24733      Filed 09/13/24     Page 9 of 11




                     and (ii) Landis Rath & Cobb LLP, 919 Market Street, Suite 1800,

                     Wilmington, Delaware 19801, Attn: Adam G. Landis (landis@lrclaw.com)

                     and Kimberly A. Brown (brown@lrclaw.com);

                 b) counsel to the Official Committee of Unsecured Creditors (the “Committee”)

                     appointed in the Debtors’ Chapter 11 Cases, (i) Paul Hastings LLP, 200 Park

                     Avenue, New York, New York 10166, Attn: Kristopher Hansen

                     (krishansen@paulhastings.com), Erez Gilad (erezgilad@paulhastings.com),

                     and Gabriel Sasson (gabesasson@paulhastings.com), and (ii) Young

                     Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street,

                     Wilmington, Delaware 19801, Attn: Matthew B. Lunn (mlunn@ycst.com)

                     and Robert F. Poppiti, Jr. (rpoppiti@ycst.com);

                 c) the U.S. Trustee, 844 King Street, Suite 2207, Wilmington, Delaware 19801,

                     Attn: Benjamin A. Hackman (benjamin.a.hackman@usdoj.gov); and

                 d) counsel to Katherine Stadler, the fee examiner appointed in the Debtors’

                     Chapter 11 Cases, Godfrey & Kahn, S.C., One East Main Street, Suite 500,

                     Madison, Wisconsin 53703 Attn: Mark Hancock (mhancock@gklaw.com).

       14.     Objections to the Fee Application, if any, must be filed with the Court and served

upon Rothschild & Co and the Notice Parties (as defined in the Interim Compensation Order) no

later than October 3, 2024, at 4:00 p.m. (prevailing Eastern Time) (the “Objection Deadline”),

setting forth the nature of the objection and specific amount of fees and expenses at issue.

                                  Certification of Compliance

       15.     The undersigned has reviewed the requirements of Local Rule 2016-2 and certifies

that, to the best of his knowledge, information and belief, this Fee Application complies with that



                                                 7
           Case 22-11068-JTD        Doc 24733      Filed 09/13/24     Page 10 of 11




rule, except to the extent waived by the Reimbursement Order or otherwise modified by orders of

this Court. To the extent this Application does not so comply, Rothschild & Co submits that such

deviations are immaterial and respectfully requests that any relevant requirements be waived.



                          [Remainder of page intentionally left blank]




                                               8
           Case 22-11068-JTD       Doc 24733      Filed 09/13/24    Page 11 of 11




       WHEREFORE, pursuant to the Reimbursement Order and the Interim Compensation

Order, Rothschild & Co requests, to the extent not already paid: (a) payment of compensation in

the amount of $140,000.00 (80% of $175,000.00) of fees on account of reasonable and necessary

professional services rendered to the Executive Committee by Rothschild & Co for July 2024; and

(b) reimbursement of actual and necessary costs and expenses in the amount of $8,758.00.



Dated: September 13, 2024
                                    Charles Delo
                                    Rothschild & Co US Inc.
                                    1251 Avenue of the Americas
                                    New York, NY 10020
                                    Telephone: +1 (212) 403 3676

                                    Investment Banker to the Executive Committee




                                              9
